Case 3:10-cv-00940-GPC-WVG Document 638 Filed 04/09/18 PageID.35378 Page 1 of 3




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
                            UNITED STATES DISTRICT COURT
    16
                          SOUTHERN DISTRICT OF CALIFORNIA
    17
       SONNY LOW, J.R. EVERETT and              )   No. 3:10-cv-0940-GPC(WVG)
    18 JOHN BROWN, on Behalf of                 )
       Themselves and All Others Similarly      )   CLASS ACTION
    19 Situated,                                )
                                                )   ORDER GRANTING JOINT MOTION
    20                          Plaintiffs,     )   TO PERMIT CONSUMMATION OF
                                                )   THE CLASS ACTION SETTLEMENT
    21        vs.                               )   AGREEMENT
                                                )
    22 TRUMP UNIVERSITY, LLC, a New             )
       York Limited Liability Company and       )
    23 DONALD J. TRUMP,                         )
                                                )
    24                          Defendants.     )
                                                )
    25 [Caption continued on following page.]
    26
    27
    28
Case 3:10-cv-00940-GPC-WVG Document 638 Filed 04/09/18 PageID.35379 Page 2 of 3




     1 ART COHEN, Individually and on             ) No. 3:13-cv-02519-GPC-WVG
       Behalf of All Others Similarly Situated,   )
     2                                            ) CLASS ACTION
                                                  )
     3                          Plaintiff,        )
                                                  )
     4        vs.                                 )
                                                  )
     5 DONALD J. TRUMP,                           )
                                                  )
     6                           Defendant.       )
                                                  )
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
Case 3:10-cv-00940-GPC-WVG Document 638 Filed 04/09/18 PageID.35380 Page 3 of 3




     1          This matter having come before the Court on the Parties’ and Objector Sherri
     2 Simpson’s (“Simpson”) Joint Motion to Permit Consummation of the Class Action
     3 Settlement Agreement (“Joint Motion”).1 Having considered the Joint Motion and
     4 good cause appearing, the Court accepts the stipulations therein and hereby ORDERS
     5 as follows:
     6          1.    The Joint Motion is GRANTED.
     7          2.    Simpson has knowingly and voluntarily waived any right to seek further
     8 judicial review or appeal of this Court’s Final Approval Order or Final Judgment (or
     9 the Ninth Circuit’s judgment affirming same), including the filing of a petition for a
    10 writ of certiorari or any other writ that could be filed in connection with the
    11 Settlement.
    12          3.    The Court’s Final Approval Order and Final Judgment are no longer
    13 subject to further judicial review or appeal whatsoever and, therefore, the Class Action
    14 Settlement is “Final” as of the date of this Order.
    15          4.    The Parties and the Settlement are hereby directed to implement the
    16 Agreement according to its terms and conditions and consistent with this Court’s Final
    17 Approval Order and Final Judgment.
    18          IT IS SO ORDERED.
    19 Dated: April 9, 2018
    20
    21
    22
    23
    24
    25
    26
    27
         1
             Capitalized terms shall have the same meaning as set forth in the Agreement.
    28

                                                 -1-                3:10-cv-0940-GPC(WVG)
